Case: 3:08-cr-00049-TMR Doc #: 127 Filed: 01/06/09 Page: 1 of 1 PAGEID #: 325


                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA

                                 Plaintiff,
 -vs-                                                                Case No. CR-3-08-49(2)

 JOHN A. MAYL,

                                 Defendant.


 ORDER ADOPTING THE REPORT AND RECOMMENDATIONS OF THE UNITED STATES
 MAGISTRATE JUDGE (DOC. #125) , AND ACCEPTING THE PLEA OF GUILTY


          This matter came on for a hearing on December 16, 2008, for a change of plea hearing. The
 matter was heard before United States Magistrate Judge Michael R. Merz. Having conducted a full
 plea colloquy with the defendant, the Magistrate Judge concluded that the Defendants plea of guilty
 was knowing, intelligent, and voluntary, and that there is an adequate factual basis for a finding of
 guilt.
          The Court, noting that no objections have been filed thereto, and that the time for filing such
 objections expired on January 6, 2009, hereby ADOPTS said Report and Recommendations.
          Therefore, based upon the aforesaid, and this Courts de novo review of the comprehensive
 findings by the United States Magistrate Judge this Court adopts the Report and Recommendations
 of the United States Magistrate Judge (Doc. #125) in its entirety, finding that the plea was knowing,
 intelligent and voluntary. The Defendant is FOUND guilty of the offenses for which he pled. This
 matter is ORDERED referred to the Unites States Probation Department for a presentence
 investigation and report. Sentencing is scheduled for March 20, 2009, at 10:00 a.m.
          DONE and ORDERED in Dayton, Ohio, this 6th day of January, 2009.




                                                              s/Thomas M. Rose
                                                        _____________________________________
                                                            THOMAS M. ROSE, JUDGE
                                                         UNITED STATES DISTRICT COURT
